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  8
                           UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11   DC COMICS,                                 Case No. CV 10-3633 ODW (RZx)
 12               Plaintiff,                     DECLARATION OF DANIEL M.
                                                 PETROCELLI IN SUPPORT OF
 13         v.                                   DC COMICS’ MOTION FOR AN
 14   PACIFIC PICTURES                           EVIDENTIARY HEARING AND
      CORPORATION, IP WORLDWIDE,                 SANCTIONS, INCLUDING
 15   LLC, IPW, LLC, MARC TOBEROFF,              TERMINATING SANCTIONS,
      an individual, MARK WARREN                 APPOINTMENT OF SPECIAL
 16   PEARY, as personal representative of       MASTER, AND OTHER RELIEF
      the ESTATE OF JOSEPH SHUSTER,
 17   JEAN ADELE PEAVY, an individual,
      LAURA SIEGEL LARSON, an                    Hon. Otis D. Wright II
 18   individual and as personal
      representative of the ESTATE OF            Hearing Date:       Nov. 12, 2012
 19   JOANNE SIEGEL, and DOES 1-10,              Hearing Time:       1:30 p.m.
      inclusive,                                 Courtroom:          11
 20
                  Defendants.
 21
 22
 23
 24
 25
 26
 27
 28
                                                               PETROCELLI DECL. ISO DC’S
                                                              MOT. FOR EVIDENTIARY HR’G
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 22             Marks, of the law firm Gang, Tyre, Ramer & Brown, Inc., to
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 23             “Superman.”
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 20       61    Letter from Mr. Adams to Mr. Tokoro dated September 8,            1230
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 21
 22       62    Letter from Mr. Kline to Mr. Toberoff and Gerald Berk dated       1236
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 24
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 26             Appellees Warner Bros. Entertainment Inc. and DC Comics
 27             filed in Larson v. Warner Bros. Entm’t Inc., Ninth Circuit
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  4             al., Ninth Circuit Appeal No. 11-71844, on May 10, 2012.
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          66    Appellant Laura Siegel Larson’s Motion To Strike Appellee’s        1392
  6             Supplemental Excerpts Of Record And Portions Of Principal
  7             And Response Brief filed in the Larson Appeal on May 24,
                2012.
  8
          67    Opposition to Motion to Strike and, In the Alternative, Motion     1412
  9             for Judicial Notice filed in the Larson Appeal on June 6, 2012.
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          68    Reply Brief of Cross-Appellants and Appellees Warner Bros.         1442
 11             Entertainment Inc. and DC Comics filed in the Larson Appeal
 12             on June 19, 2012.

 13       69    Motion to Supplement the Record With the Marks Memo filed          1478
                in the Larson Appeal on June 19, 2012.
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 15       70    Appellant Laura Siegel Larson’s Reply In Support Of Motion         1490
                To Strike Appellee’s Supplemental Excerpts Of Record And
 16             Portions Of Principal And Response Brief And Response To
 17             Appellee’s Motion For Judicial Notice filed in the Larson
                Appeal on June 21, 2012.
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 19       71    Warner Bros. Entertainment Inc. and DC Comics’ Reply In            1531
                Support of Motion for Judicial Notice filed in the Larson
 20             Appeal on July 2, 2012.
 21       72    Reply In Support of Warner Bros. Entertainment Inc. and DC         1542
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  4       76    Letter from Gerald A. Berk to Mr. Tokoro dated September           1569
  5             19, 2012, attaching the Estate of Michael Siegel’s production
                of documents in response to DC’s subpoena
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  7       77    Letter from Mr. Petrocelli to Mr. Toberoff and Ms. Brill dated     1645
                July, 11, 2011.
  8
          78    Email from Aaron Hayden to counsel for defendants dated            2003
  9             July 12, 2011.
 10
          79    July 11 through July 18, 2011 email chain between Ms. Seto         2005
 11             and Mr. Adams.
 12
          80    Email from Ms. Seto to Mr. Toberoff dated July 20, 2011.           2007
 13
          81    Letter from Mr. Tokoro to Mr. Toberoff and Mr. Kendall             2008
 14             dated August 17, 2012.
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          82    Letter from Mr. Adams to Mr. Tokoro dated August 27, 2012.         2356
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 17             Arredondo and Mr. Tokoro.
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 19             deposition of Kevin Marks in Siegel.
 20
          85    Excerpts from the transcription of the June 29, 2011 deposition    2577
 21             of defendant Mark Warren Peary.
 22       86    Excerpts from the transcription of the July 22, 2011 deposition    2588
 23             of defendant Laura Siegel Larson
 24       87    Excerpts from the transcription of the September 18, 2012,         2604
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 25
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  1                    DECLARATION OF DANIEL M. PETROCELLI
  2         I, Daniel M. Petrocelli, declare and state:
  3         1.       I am an attorney licensed to practice in the State of California and
  4   admitted to the Central District of California. I am a partner at O’Melveny &
  5   Myers LLP, counsel of record for plaintiff DC Comics in this case. I am lead
  6   counsel for DC and have personal knowledge of the matters set forth in this
  7   declaration.
  8         2.       This declaration is submitted as part of DC’s Motion For An
  9   Evidentiary Hearing And Sanctions, Including Terminating Sanctions,
 10   Appointment Of Special Master, And Other Relief (the “Motion”).
 11         3.       Part I of this declaration details the parties’ meet-and-confer efforts
 12   pursuant to Local Rule 7-3. Part II discusses certain indications that defendants are
 13   continuing to withhold discoverable evidence. Part III provides examples how
 14   defendants have blocked discovery during depositions. Part IV authenticates
 15   documents supporting the Motion.
 16   I.    DC’S EFFORTS TO RESOLVE THIS DISPUTE
 17         4.       DC raised the matters addressed in DC’s motion with defendants in
 18   June 2012. Attached hereto as Exhibit 1 is a true and correct copy of an email
 19   chain between my colleague Jason Tokoro and Richard Kendall dated June 5
 20   through June 18, 2012.
 21         5.       In the months that followed, the parties exchanged letters discussing
 22   the issues raised in DC’s motion. Attached hereto as Exhibits 1-11 are true and
 23   correct copy of the parties’ correspondence.
 24         6.       On July 17, 2012, DC’s counsel met in-person with Mr. Kendall and
 25   his colleague, Nicholas Daum, with Mr. Toberoff participating by telephone, to
 26   discuss the defendants’ discovery misconduct and DC’s forthcoming motion should
 27   the parties be unable to reach a resolution. While the parties met for more than one
 28   hour, they were unable to resolve their differences. The parties remained at an
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  1   impasse following the subsequent written communications among the parties,
  2   referenced in paragraph 5.
  3         7.     Among the issues discussed was the role of Kendall Brill & Klieger
  4   (“KBK”), counsel of record in this action for defendants Marc Toberoff, Pacific
  5   Pictures Corporation, IP Worldwide, LLC, and IPW, LLC (the “Toberoff
  6   defendants”), with respect to discovery proceedings in this case. Richard Kendall
  7   of KBK delineated the role of KBK as follows:
  8         [L]et me be clear about the role of [KBK] to date in this litigation … [A]s we
            have repeatedly discussed, defendants have divided the responsibilities of co-
  9         counsel in the matter. While KBK has been involved in briefing key
            substantive motions and appellate issues, KBK did not handle document
 10         production or the preparation of privilege logs.
 11   Ex. 7 at 91; see also Ex. 12 at 122 (“Mr. Toberoff has taken the lead in responding
 12   to discovery directed at him or his affiliated companies, has argued on his own
 13   behalf and on behalf of those companies before the Court, and has conferred with
 14   you many times on their behalf concerning discovery issues. He is clearly entitled
 15   to take such steps, as both the party who has been sued and an attorney in this
 16   matter, and you waived any argument to the contrary (if such an argument ever
 17   existed) many months ago.”); 3 at 55 (“As we have frequently explained, and as
 18   you and the Court have been well aware since at least 2010, Mr. Toberoff’s law
 19   firm is conducting a substantial portion of his defense in this matter, as is his right
 20   …You have cited to no legal authority whatsoever suggesting that this division of
 21   labor between our two law firms is inappropriate or improper.”)
 22         8.     DC expressed its view that as counsel of record for the Toberoff
 23   defendants KBK maintained responsibility for their clients’ compliance with
 24   discovery obligations. See, e.g., Exs. 1, 2, 5. For example, on June 13, 2012, Mr.
 25   Tokoro wrote to KBK that:
 26         The law is clear. You cannot avoid your duty to meaningfully participate in
            this case, nor can you avoid liability for the discovery misconduct of Mr.
 27         Toberoff, through a purported division of labor that delegates all discovery
 28         responsibilities to him, your client. Recent California Court of Appeal
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  1         authority confirms this. In Cole v. Patricia A. Meyer & Assocs., APC, 2012
            WL 2106364, at *14 (Cal. Ct. App. June 12, 2012), for example, the court
  2         held that though California law generally allows co-counsel to divide the
  3         duties of conducting a case, an attorney cannot avoid liability for misconduct
            by intentionally failing to learn about the case based on a purported division
  4         of labor. The court reasoned that as “counsel of record”—which you and
            your firm are here—attorneys owe a “duty of care to their clients that
  5         encompasse[s] ‘both a knowledge of the law and obligation of diligent
            research and informed judgment.’” Id. at *13. The court found that
  6         defendants “cannot avoid liability for malicious prosecution by claiming to
  7         have been ignorant of” key facts in the case—even facts another attorney
            allegedly assumed responsibility for. Id. at *14; see also In re Girardi, 611
  8         F.3d 1027, 1061-62 (“willful ignorance” of the plaintiffs’ co-counsel of
            record in the underlying case not a defense); In re Mitchell, 901 F.2d 1179,
  9         1188 (3d Cir. 1990) (division of labor among counsel does not diminish
 10         attorney’s personal responsibility for complying with court rules); Fund of
            Funds, Ltd. v. Arthur Anderson & Co., 567 F.2d 225, 234 (2d Cir. 1977)
 11         (“The principle that a lawyer cannot delegate his fiduciary duties to another
            in an effort to avoid its strictures or to avoid responsibility for the manner in
 12         which they are taken is settled law.”); J.M. Cleminshaw Co. v. City of
            Norwich, 93 F.R.D. 338 (D. Conn. 1981) (finding attorney liable for failure
 13         of co-counsel to comply with discovery requests; “[t]he fact that an attorney
 14         may have engaged co-counsel to assist him in the conduct of a case does not
            relieve that counsel of record of his duty to supervise all aspects of the
 15         litigation”).
 16   Ex. 1 at 27.
 17         9.       After DC raised its objections to the discovery misconduct raised in
 18   the Motion, the KBK firm made the following proposal:
 19         First, counsel from Kendall Brill & Klieger (“KBK”) will independently
            review each document created prior to October 8, 2004 (the date the Siegel
 20         litigation commenced) that is listed on the privilege logs submitted in this
            action. If, in this independent judgment of KBK, privilege does not apply to
 21         any logged document, that document will be produced promptly to you.
 22
            Second, KBK will prepare amended privilege logs. If DC Comics agrees to
 23         provide subject-matter descriptions in the privilege logs it is to submit in this
            action, Defendants will also provide subject-matter descriptions. …
 24         Regardless of whether or not the subject matter descriptions are included, if
            any logged entry fails to list any recipient of a privileged document, the logs
 25         will be appropriately amended.
 26
            Third, KBK will conduct a reasonable, independent search concerning
 27         documents … identified by DC that are referred to in other communications
            but which have not been identified and produced … and KBK will confirm to
 28         DC the records searched and the results of this search….
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  1
            Finally, if, in conducting this independent review, KBK discovers
  2         information suggesting that any other responsive documents exist that have
  3         not been produced or logged, such documents will be promptly produced to
            you.
  4   Ex. 4 at 57-58.
  5         10.    DC rejected this offer for three principal reasons. First, KBK’s
  6   proposal was contingent on DC forfeiting its right to seek any relief for defendants’
  7   discovery misconduct to date. Ex. 7 at 91 (stating that “defendants are not willing
  8   to undertake the expense of paying for KBK’s time … if DC is determined to
  9   make” its motion). Second, KBK’s proposal did not address the prejudice that DC
 10   has suffered to date and, indeed, denied that DC had suffered any prejudice. E.g.,
 11   Ex. 9 at 105 (“Any claim of prejudice to DC from the date of production of these
 12   letters is specious.”). Third, KBK’s proposal, in our view, still contemplated a
 13   limited role for KBK as counsel of record and did not assure to our satisfaction full
 14   compliance with Mr. Toberoff’s discovery obligations. For example, while KBK
 15   agreed to review or look for certain documents that Mr. Toberoff logged or that DC
 16   was otherwise able to specifically identify, KBK would not agree to conduct full
 17   searches outside this limited set of documents. See Ex. 7 at 94-96.
 18
      II.   INDICATIONS THAT DISCOVERY MISCONDUCT CONTINUES
 19         11.    Documents Identified in the Toberoff Timeline. The Toberoff
 20   Timeline—which led DC to the May and July 2003 drafts and letter discussed in
 21   DC’s Motion, Mot. at 15-18—also references other documents that Mr. Toberoff
 22   claims do not exist. This includes a December 16, 2002 letter from Mr. Toberoff
 23   and Mr. Emanuel to Laura and Joanne Siegel, as well as a September-October 2003
 24   “[l]etter with Ari Emanuel in which he would receive $2.5 million flat fee for
 25   ‘negotiating services,’” that has never been logged or produced. DN 49, First
 26   Amended Complaint (“FAC”) Ex. A at 64, 66; DN 160 at 71-72 & n.26; 162-9 at
 27   577. As he did when refusing to produce the nine copies of the July 5, 2003 draft
 28
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  1   letter (which were discovered in his possession upon the court-ordered production
  2   of the Timeline Documents in May 2012), Mot. at 18-19, Mr. Toberoff has stated
  3   that defendants were unable to identify documents that “matched” the December 16
  4   or September-October 2003 letters, DN 160 at 71-72 n.26.
  5         12.    October 2, 2002 Letter. The recently disclosed November 2, 2002
  6   letter from Laura Siegel Larson to Michael Siegel discloses an October 2, 2002
  7   letter from Michael to Laura that also has never been produced or logged. DN 455-
  8   2 at 3. DC has asked Mr. Toberoff for the document, and, initially Mr. Toberoff
  9   asserted the document does not exist. Exs. 2 at 34; 3 at 48. Recently produced (and
 10   still heavily-redacted) billing entries for the Renner Otto firm indicate Mr. Bulson
 11   and Michael were working on a letter at this time. Ex. 13 at 131. Entries on Mr.
 12   Bulson’s privilege log in this case suggest that defendants may also be withholding
 13   drafts of this letter exchanged between Mr. Bulson and Michael (or the draft or final
 14   version of the October 2 letter may be an attachment to a transmittal between Mr.
 15   Bulson and Michael that does not appear on the privilege log). Defendants refuse
 16   to produce the letter or drafts or to provide DC with information regarding the
 17   entries on Mr. Bulson’s privilege log. Exhibits 2-5, 7-8. Attached hereto as
 18   Exhibit 13 is a true and correct copy of an email from Mr. Arredondo to Ms. Seto
 19   dated June 28, 2012, attaching the redacted Renner Otto billing entries Bates-
 20   stamped EOMS 183-216.
 21         13.    2011 Bulson Privilege Log. The Bulson privilege log produced by Mr.
 22   Toberoff in November 2011 in this case discloses over 224 documents Mr.
 23   Toberoff did not list on the Bulson privilege log he produced in 2006 in Siegel.1
 24   1
       The new privilege log entries on the 2011 “Privilege Log of Bulson Archive” are:
      Entry Nos. 1-4, 7, 10, 12, 14, 16, 17, 19, 21, 22, 24-26, 28, 30, 32, 33, 35, 37, 39,
 25   40, 42-44, 48, 49, 51, 52, 54, 55, 57, 58, 60, 61, 63, 66-73, 76, 77, 79-82, 85-94, 96,
      99, 104, 106, 107, 110, 112-115, 117, 122, 123, 130, 134, 135, 137, 143, 147, 150,
 26   152, 153, 157, 158, 160, 161, 176, 178, 186, 188, 191, 194, 200, 202, 204, 224,
      231, 235, 237, 238, 240, 248, 249, 252, 253, 265, 267, 284-286, 289-292, 295, 299,
 27   303, 305, 308, 314, 318, 321, 324, 325, 329, 332, 336, 340, 347-349, 352, 355, 361,
      364-368, 370-372, 375, 376, 385-387, 396-398, 403, 405-406, 413, 428, 439, 442,
 28   447, 458, 459, 471, 474, 484, 485, 499, 509, 512, 517, 520-537, 539, 541, 543, 545,
                                                                   PETROCELLI DECL. ISO DC’S
                                              - 12 -             MOT. FOR EVIDENTIARY HR’G
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  1   This includes a September 21, 2002 letter from Laura to Michael, identified at
  2   Entry # 385 on the new Bulson log. DN 362-2 at 311 (Entry 385), which
  3   defendants still refuse to produce. Exs. 15, 17.
  4         14.    Defendants initially asserted that certain of the new entries in the 2011
  5   Bulson privilege log were (1) logged multiple times to “track” their repeated
  6   appearances in the electronic archive, or (2) not responsive to DC’s prior requests
  7   in the Siegel cases. In order to assess defendants’ claims, DC requested that
  8   defendants identify which of the newly logged documents fell into each category.
  9   Defendants refused DC’s request.
 10         15.    Defendants refuse to produce the documents that Mr. Toberoff listed
 11   for the very first time on the 2011 Bulson privilege log. DC successfully moved to
 12   compel production of a November 17, 2001 email from Mr. Toberoff to Michael,
 13   based on defendants’ same failure to include that document on the 2006 Bulson
 14   privilege log, DN 457, 488, and have asked defendants to produce the remainder of
 15   the 224+ unlogged documents, in light of the Court’s order, Exs. 14, 16, 18.
 16   Defendants have rejected this request. Exs. 15, 17. Attached hereto as Exhibits 14-
 17   18 are true and correct copies of correspondence between DC’s and defendants’
 18   counsel regarding the 2011 Bulson privilege log.
 19         16.    Privilege Log Entries. Defendants’ privilege logs produced by Mr.
 20   Toberoff in this case and in the Siegel case list approximately 100 faxes and
 21   hundreds of emails not included among the Timeline documents. E.g., DN 162-6,
 22   162-7, 163-7. The production of the Timeline documents revealed that similar
 23   entries concealed non-privileged attachments that were not produced elsewhere.
 24   E.g., Mot at 6-11. Without court intervention, it is not possible to determine
 25   whether defendants’ privilege logs encompass other unidentified non-privileged
 26   attachments or material.
 27
 28   547, 548, 550-561, 563-566, 568, 570, 573-584
                                                                  PETROCELLI DECL. ISO DC’S
                                           - 13 -                MOT. FOR EVIDENTIARY HR’G
                                                                   RE DISCOVERY SANCTIONS
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  1         17.   Mr. Toberoff has not identified all recipients of withheld documents on
  2   defendants’ privilege logs. This precludes plaintiffs and the Court from
  3   ascertaining whether documents are privileged at all or whether any privilege was
  4   waived. For example, when DC litigated whether defendants waived privilege over
  5   the Timeline documents by disclosing them to the U.S. Attorney’s office
  6   (“USAO”), Mr. Toberoff did not then disclose that Ari Emanuel, DN 477-2 at 111,
  7   134-35—a third party, who is not Mr. Toberoff’s client and is no longer his
  8   business partner, Ex. 87 at 2608:19-2611:5, 2614:6-12—was also involved in the
  9   conversations with the USAO. This fact only emerged when the documents were
 10   later produced. Mr. Emanuel’s involvement was relevant to defendants’ (rejected)
 11   common-interest-privilege assertions, which DC had to spend close to a year and
 12   substantial money and resources to litigate. DN 477-2 at 111, 134-35. Mr.
 13   Toberoff’s failure to include Mr. Emanuel on the privilege logs and in the
 14   defendants’ interrogatory responses is especially troubling given that Mr. Toberoff
 15   has since admitted that he personally requested that Mr. Emanuel contact the USAO
 16   in Summer 2010. As discussed in DC’s motion, Mr. Toberoff failed to list other
 17   recipients of communications in his logs in Siegel, including Michael Siegel. Mot.
 18   at 6-11.
 19         18.   Ari Emanuel Documents. A September 21, 2012, production of
 20   documents by Mr. Emanuel and his company, William Morris Endeavor, contains
 21   51 pages of communications with Mr. Toberoff that Mr. Toberoff has not produced
 22   in this case or the Siegel cases, nor do such documents appear on Mr. Toberoff’s
 23   privilege logs. Ex. 19 at 172-202, 276-94. Defendants have not explained why
 24   they did not produce or log these documents. Attached here to as Exhibit 19 is a
 25   true and correct copy of the documents produced by Mr. Emanuel on September 21,
 26   2012, bates-labeled WME 0051-176.
 27
 28
                                                                PETROCELLI DECL. ISO DC’S
                                            - 14 -             MOT. FOR EVIDENTIARY HR’G
                                                                 RE DISCOVERY SANCTIONS
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  1   III.   DEFENDANTS’ CONDUCT DURING DEPOSITIONS
  2          19.   Defendants have asserted the attorney-client privilege to bar
  3   significant areas of examination that we submit are not privileged regarding the
  4   business arrangements and activities at issue in this case. Below is an example
  5   from defendant Mark Peary’s June 29, 2011 deposition, though there are many
  6   others:
  7          Q. When you signed the 2008 consent agreement, did you -- what did
             you understand the purpose of that agreement to be? Why were you
  8          signing it?
             MR. TOBEROFF: You can only answer that -- actually, I instruct you
  9          not to answer because the sole -- your sole understanding is through
 10          communications with me.
             BY MR. PETROCELLI:
 11          Q. You read the document before you signed it, didn’t you?
             A. Yes, but I’ll have to follow my attorney’s advice.
 12          ….
 13          Q. Are you saying that when -- when you read the document, you
             derived absolutely no understanding from reading the words?
 14          A. My understanding is intricately bound with my communications
             with Marc Toberoff.
 15          ….
             Q. … My question was, when you read the document are you saying
 16          that you drew no understanding at all from reading the words on the
 17          page of the document?
             A. It’s -- it’s all based upon -- my understanding is intricately bound
 18          to my communications with my attorney.
             Q. Are you saying that had you not spoken to your attorney, you
 19          would have had no idea what -- what you were signing?
 20          ….
             THE WITNESS: My understanding is -- is bound up, what --
 21          whatever I have is bound up.
             ….
 22          Q. In your role as executor of the estate, is it your testimony that you
             have been able to -- you can’t do anything or even think of anything
 23          that doesn’t involve the legal advice of Marc Toberoff?
 24          A. That’s correct.
             ….
 25          Q. ... I’m asking you in your role as … executor, you don’t have any
             judgment or any ideas or any thoughts other than what Toberoff
 26          discusses with you. Is that correct?
 27          ….
             THE WITNESS: That’s correct.
 28
                                                                 PETROCELLI DECL. ISO DC’S
                                             - 15 -             MOT. FOR EVIDENTIARY HR’G
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  1   Ex. 85 at 2579:15-2581:17, 2584:10-2585:5. Attached hereto as Exhibits 77-80 are
  2   true and correct copies of correspondence between DC’s and defendants’ counsel
  3   regarding Mr. Peary’s deposition and defendants’ objections during the deposition.
  4   Attached hereto as Exhibits 81-83 are true and correct copies of correspondence
  5   between DC’s and defendants’ counsel regarding Ms. Larson’s deposition and
  6   defendants’ objections during the deposition. Attached hereto as Exhibits 20-21 are
  7   true and correct copies of correspondence between DC’s and defendants’ counsel
  8   regarding Mr. Bulson’s deposition and defendants’ objections during the
  9   deposition.
 10         20.     At his own deposition, Mr. Toberoff prevented inquiry into his
 11   conversations with his then business partner, Mr. Emanuel, claiming that such
 12   communications were protected under either the attorney-client privilege or the
 13   work-product doctrine. Ex. 87 at 2606:10-18, 2617:5-13, 2620:7-22, 2632:3-7,
 14   2634:12-19.
 15         21.     DC also was precluded from inquiring about Mr. Toberoff’s
 16   compliance with discovery obligations in this case, further evidencing the need for
 17   an evidentiary hearing:
 18         Q. Have you withheld in this litigation e-mail communications with Mr.
            Emanuel on the basis of this verbal agreement -- this verbal confidentiality
 19         agreement?
 20         MR. KENDALL: I'm going to object to that question on the ground that I
 21         don't think it’s proper for you to ask questions in this deposition about Mr.
            Toberoff's actions or decisions in his capacity as counsel for his clients or as
 22         -- in his capacity as counsel for and his firm's counsel for himself and the
            Toberoff entities.
 23
            So I think you're free to ask questions that you would normally ask of a lay
 24         witness but not about the discovery process.
 25         Q. Have you – I’m not going to respond other than to have you understand
            that when I don't respond, it doesn’t mean I agree.
 26
      Ex. 87 at 2623:10-2624:3.
 27
 28
                                                                 PETROCELLI DECL. ISO DC’S
                                             - 16 -             MOT. FOR EVIDENTIARY HR’G
                                                                  RE DISCOVERY SANCTIONS
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  1   IV.   ADDITIONAL MATERIALS CITED IN DC’S MOTION PAPERS
  2         22.    Attached hereto as Exhibit 22 is a true and correct copy of a document
  3   titled “SUPERMAN – MARC TOBEROFF TIMELINE.”
  4         23.    Attached hereto as Exhibit 23 is a true and correct copy of a letter from
  5   Kevin Marks to John Schulman dated October 19, 2001.
  6         24.    Attached hereto as Exhibit 24 is a true and correct copy of a letter from
  7   John Schulman to Kevin Marks dated October 26, 2001.
  8         25.    Attached hereto as Exhibit 25 is a true and correct copy of a letter from
  9   Mr. Toberoff to Michael Siegel dated November 17, 2001.
 10         26.    Attached hereto as Exhibit 26 is a true and correct copy of a letter from
 11   Ms. Larson to Michael Siegel dated November 2, 2002.
 12         27.    Attached hereto as Exhibit 27 is a true and correct copy of a fax from
 13   Ms. Larson to Mr. Toberoff dated November 6, 2002, attached an August 9, 2002
 14   Memorandum from Kevin S. Marks, of the law firm Gang, Tyre, Ramer & Brown,
 15   Inc., to Ms. Siegel, Ms. Larson, and Mr. Bulson, regarding “Superman.”
 16         28.    Attached hereto as Exhibit 28 are true and correct copies of the four
 17   copies of the May 13, 2003 letter from Mr. Siegel to Ms. Larson included among
 18   the Toberoff Timeline documents. They are Bates stamped Q0032-33, Q0139-40,
 19   Q0317-18, and Q0590-91.
 20         29.    Attached hereto as Exhibit 29 is a true and correct copy of a fax from
 21   James R. Jackoway, of the law firm Armstrong Hirsch Jackoway Tyerman &
 22   Wertheimer, to Mr. Toberoff dated May 28, 2003, attaching a May 27, 2003
 23   Memorandum from Gerry Hemmerling to Mr. Jackoway regarding “Marc Toberoff
 24   -- Superman Rights.”
 25         30.    Attached hereto as Exhibit 30 is a true and correct copy of a fax from
 26   Mr. Jackoway to Mr. Toberoff dated May 30, 2003, attaching a May 29, 2003
 27   Memorandum from Kurt L. Harrison to Mr. Jackoway regarding “Marc Toberoff --
 28   Ethical Issues.”
                                                                 PETROCELLI DECL. ISO DC’S
                                             - 17 -             MOT. FOR EVIDENTIARY HR’G
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  1         31.    Attached hereto as Exhibit 31 are true and correct copies of the nine
  2   copies of the July 5, 2003 drafts of the July 11, 2003 letter from Mr. Siegel to Ms.
  3   Larson included among the Toberoff Timeline documents. They are Bates stamped
  4   Q0141-45, Q0147-51, Q153-57, Q0319-23, Q0389-94, Q0478-82, Q0592-96,
  5   Q0661-65, and Q0750-54.
  6         32.    Attached hereto as Exhibit 32 are true and correct copies of the five
  7   copies of the July 11, 2003 letter from Ms. Larson to Mr. Siegel included among
  8   the Toberoff Timeline documents. They are Bates stamped Q0027-31, Q0133-37,
  9   Q0395-99, Q0484-88, and Q0756-60.
 10         33.    Attached hereto as Exhibit 33 is a true and correct copy of the
 11   Complaint filed by Ms. Siegel and Ms. Larson on October 8, 2004 in Siegel.
 12         34.    Attached hereto as Exhibit 34 is a true and correct copy of the Answer
 13   and Counterclaims Warner Bros. Entertainment Inc., et al., on October 8, 2004 in
 14   Siegel.
 15         35.    Attached hereto as Exhibit 35 is a true and correct copy of
 16   Defendants’/Counterclaimant’s First Set of Requests for the Production of
 17   Documents and Things served by Warner Bros. Entertainment Inc., et al., on June
 18   21, 2005 in Siegel.
 19         36.    Attached hereto as Exhibit 36 is a true and correct copy of Plaintiffs
 20   Joanne Siegel and Laura Siegel Larson’s Response to
 21   Defendants’/Counterclaimant’s First Set of Requests for the Production of
 22   Documents and Things served by Warner Bros. Entertainment Inc., et al., on July
 23   21, 2005 in Siegel.
 24         37.    Attached hereto as Exhibit 37 is a true and correct copy of the Notice
 25   of Motion re: Joint Stipulation; Joint Stipulation re: Defendants’ Motion to Compel
 26   Production of Documents filed on July 24, 2006 in Siegel.
 27
 28
                                                                 PETROCELLI DECL. ISO DC’S
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  1         38.    Attached hereto as Exhibit 38 is a true and correct copy of the
  2   Declaration of Marc Toberoff In Opposition To Defendants’ Motion to Compel
  3   Production of Documents filed on July 24, 2006 in Siegel.
  4         39.    Attached hereto as Exhibit 39 is a true and correct copy of the
  5   Supplemental Memorandum In Support of Defendants’ Motion to Compel
  6   Production of Documents filed on July 31, 2006 in Siegel.
  7         40.    Attached hereto as Exhibit 40 is a true and correct copy of the
  8   transcript of hearing on August 14, 2006 in Siegel.
  9         41.    Attached hereto as Exhibit 41 is a true and correct copy of the Order
 10   on Defendants’ Motion to Compel Production of Documents issued on August 18,
 11   2006 in Siegel.
 12         42.    Attached hereto as Exhibit 42 is a true and correct copy of Melvin
 13   Banchek’s Objections to Defendants’ Subpoena dated August 23, 2006.
 14         43.    Attached hereto as Exhibit 43 is a true and correct copy of Don W.
 15   Bulson’s Objections to Defendants’ Subpoena dated August 23, 2006.
 16         44.    Attached hereto as Exhibit 44 is a true and correct copy of Marc
 17   Toberoff’s Objections to Defendants’ Subpoena dated August 23, 2006.
 18         45.    Attached hereto as Exhibit 45 is a true and correct copy of the
 19   Subpoena in a Civil Case to Mr. Toberoff served by Warner Bros. Entertainment
 20   Inc., et al., on October 19, 2006 in Siegel.
 21         46.    Attached hereto as Exhibit 46 is a true and correct copy of the Don
 22   Bulson privilege log dated October 23, 2006.
 23         47.    Attached hereto as Exhibit 47 is a true and correct copy of Plaintiffs
 24   Joanne Siegel and Laura Siegel Larson’s Memorandum of Points and Authorities in
 25   Support of Motion for Partial Summary Judgment dated April 30, 2007.
 26         48.    Attached hereto as Exhibit 48 is a true and correct copy of Joshua
 27   Ryland’s letter to the Honorable Solomon Oliver dated February 18, 2008.
 28
                                                                 PETROCELLI DECL. ISO DC’S
                                              - 19 -            MOT. FOR EVIDENTIARY HR’G
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  1         49.   Attached hereto as Exhibit 49 is a true and correct copy of Mr.
  2   Toberoff’s letter to the Honorable Solomon Oliver dated February 19, 2008.
  3         50.   Attached hereto as Exhibit 50 is a true and correct copy of the Order
  4   Granting In Part and Denying In Part Plaintiffs’ Motion for Partial Summary
  5   Judgment; Order Granting In Part and Denying In Part Defendants’ Motion for
  6   Partial Summary Judgment issued on March 26, 2008 in Siegel.
  7         51.   Attached hereto as Exhibit 51 is a true and correct copy of a letter from
  8   Mr. Toberoff to David Eisen dated October 9, 2008.
  9         52.   Attached hereto as Exhibit 52 is a true and correct copy of a letter from
 10   David Eisen to the Honorable Judge Stephen G. Larson dated October 16, 2008.
 11         53.   Attached hereto as Exhibit 53 is a true and correct copy of the Order
 12   Regarding Escrow Holder’s October 16, 2008 Letter Seeking Clarification of
 13   Court’s September 26, 2008 Order, issued on December 4, 2008 in Siegel.
 14         54.   Attached hereto as Exhibit 54 is a true and correct copy of the
 15   Declaration of Marc Toberoff In Opposition to Defendants’ Motion to Reopen
 16   Discovery, To Compel Production of Documents, and To Compel the Further
 17   Deposition of Kevin Marks filed on March 2, 2009 in Siegel.
 18         55.   Attached hereto as Exhibit 55 is a true and correct copy of the
 19   Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
 20   of Premises in a Civil Action to Don Bulson, c/o Renner Otto Boiselle & Sklar
 21   dated on May 10, 2011.
 22         56.   Attached hereto as Exhibit 56 is a true and correct copy of a letter from
 23   Joshua Ryland to Mr. Kline and Mr. Tokoro dated July 15, 2011.
 24         57.   Attached hereto as Exhibit 57 is a true and correct copy of Defendants
 25   IPW, LLC’s Response to Plaintiff DC Comics’ First Set of Interrogatories dated
 26   August 1, 2011.
 27         58.   Attached hereto as Exhibit 58 is a true and correct copy of a letter from
 28   Mr. Kline to Mr. Toberoff and Gerald Berk dated August 29, 2011.
                                                                PETROCELLI DECL. ISO DC’S
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  1           59.   Attached hereto as Exhibit 59 is a true and correct copy of a letter from
  2   Mr. Adams to Mr. Tokoro dated September 6, 2011.
  3           60.   Attached hereto as Exhibit 60 is a true and correct copy of a letter from
  4   Mr. Toberoff to Mr. Kline dated September 8, 2011.
  5           61.   Attached hereto as Exhibit 61 is a true and correct copy of a letter from
  6   Mr. Adams to Mr. Tokoro dated September 8, 2011.
  7           62.   Attached hereto as Exhibit 62 is a true and correct copy of a letter from
  8   Mr. Kline to Mr. Toberoff and Gerald Berk dated September 15, 2011.
  9           63.   Attached hereto as Exhibit 63 is a true and correct copy of a letter from
 10   Mr. Toberoff to Mr. Kline dated September 22, 2011.
 11           64.   Attached hereto as Exhibit 64 is a true and correct copy of the
 12   Principal and Response Brief of Cross-Appellants and Appellees Warner Bros.
 13   Entertainment Inc. and DC Comics filed in Larson v. Warner Bros. Entm’t Inc.,
 14   Ninth Circuit Appeal Nos. 11-55863, 11-56034 (“Larson Appeal”), on March 23,
 15   2012.
 16           65.   Attached hereto as Exhibit 65 is a true and correct copy of the
 17   Amended Opinion issued in DC Comics v. Pacific Pictures et. al., Ninth Circuit
 18   Appeal No. 11-71844, on May 10, 2012.
 19           66.   Attached hereto as Exhibit 66 is a true and correct copy of Appellant
 20   Laura Siegel Larson’s Motion To Strike Appellee’s Supplemental Excerpts Of
 21   Record And Portions Of Principal And Response Brief filed in the Larson Appeal
 22   on May 24, 2012.
 23           67.   Attached hereto as Exhibit 67 is a true and correct copy of the
 24   Opposition to Motion to Strike and, In the Alternative, Motion for Judicial Notice
 25   filed in the Larson Appeal on June 6, 2012.
 26           68.   Attached hereto as Exhibit 68 is a true and correct copy of the Reply
 27   Brief of Cross-Appellants and Appellees Warner Bros. Entertainment Inc. and DC
 28   Comics filed in the Larson Appeal on June 19, 2012.
                                                                  PETROCELLI DECL. ISO DC’S
                                              - 21 -             MOT. FOR EVIDENTIARY HR’G
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  1         69.   Attached hereto as Exhibit 69 is a true and correct copy of the Motion
  2   to Supplement the Record With the Marks Memo filed in the Larson Appeal on
  3   June 19, 2012.
  4         70.   Attached hereto as Exhibit 70 is a true and correct copy of Appellant
  5   Laura Siegel Larson’s Reply In Support Of Motion To Strike Appellee’s
  6   Supplemental Excerpts Of Record And Portions Of Principal And Response Brief
  7   And Response To Appellee’s Motion For Judicial Notice filed in the Larson Appeal
  8   on June 21, 2012.
  9         71.   Attached hereto as Exhibit 71 is a true and correct copy of Warner
 10   Bros. Entertainment Inc. and DC Comics’ Reply In Support of Motion for Judicial
 11   Notice filed in the Larson Appeal on July 2, 2012.
 12         72.   Attached hereto as Exhibit 72 is a true and correct copy of the Reply In
 13   Support of Warner Bros. Entertainment Inc. and DC Comics’ Motion to
 14   Supplement the Record With the Marks Memo filed in the Larson Appeal on July
 15   11, 2012.
 16         73.   Attached hereto as Exhibit 73 is a true and correct copy of a letter from
 17   Mr. Tokoro to Mr. Toberoff and Mr. Kendall dated August 30, 2012.
 18         74.   Attached hereto as Exhibit 74 is a true and correct copy of an email
 19   chain between Mr. Tokoro and Mr. Adams dated September 6 through September
 20   26, 2012.
 21         75.   Attached hereto as Exhibit 75 is a true and correct copy of the Ninth
 22   Circuit Notice of Hearing on November 5, 2012, for Appeal Nos. 11-56934, 11-
 23   55863, and 11-56034 dated September 10, 2012.
 24         76.   Attached hereto as Exhibit 76 is a true and correct copy of a letter from
 25   Gerald A. Berk to Mr. Tokoro dated September 19, 2012, attaching the Estate of
 26   Michael Siegel’s production of documents in response to DC’s subpoena.
 27         77.   Attached hereto as Exhibit 84 is a true and correct copy of excerpts
 28   from the transcription of the October 7, 2006 deposition of Mr. Marks in Siegel.
                                                                PETROCELLI DECL. ISO DC’S
                                            - 22 -             MOT. FOR EVIDENTIARY HR’G
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  1   Should the Court wish to review the transcript in its entirety, it can be found at DN
  2   305-14.
  3         78.    Attached hereto as Exhibit 85 is a true and correct copy of excerpts
  4   from the transcription of the June 29, 2011 deposition of Mr. Peary. Should the
  5   Court wish to review the transcript in its entirety, it can be found at DN 305-37.
  6         79.    Attached hereto as Exhibit 79 is a true and correct copy of excerpts
  7   from the transcription of the July192, 2011 deposition of Mr. Bulson. Should the
  8   Court wish to review the transcript in its entirety, it can be found at DN 427-2 at
  9   47-239.
 10         80.    Attached hereto as Exhibit 86 is a true and correct copy of excerpts
 11   from the transcription of the July 22, 2011 deposition of Ms. Larson. Should the
 12   Court wish to review the transcript in its entirety, it can be found at DN 305-24.
 13         81.    Attached hereto as Exhibit 87 is a true and correct copy of excerpts
 14   from the transcription of the September 18, 2012, deposition of Mr. Toberoff.
 15   Should the Court wish to review the transcript in its entirety, it can be found at DN
 16   493-1 at 31-407.
 17         I declare under penalty of perjury under the laws of the State of California
 18   and the United States that the foregoing is true and correct. Executed this 10th day
 19   of October, 2012, at Los Angeles, California.
 20                                                    /s/ Daniel M. Petrocelli
 21                                                   Daniel M. Petrocelli

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                                                                  PETROCELLI DECL. ISO DC’S
                                             - 23 -              MOT. FOR EVIDENTIARY HR’G
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                                                             PETROCELLI DECL. ISO DC’S
                                        - 24 -              MOT. FOR EVIDENTIARY HR’G
                                                              RE DISCOVERY SANCTIONS
